                         On Motion for Rehearing
Appellant's motion for rehearing criticises a recitation in the original opinion to the effect that none of the trial court's fact-findings had been attacked by it as lacking support in the evidence, calling attention to the fact that in the back of its brief there appear assignments of error Nos. 5, and 12 to 17, inclusive, which appear to question some of the findings, along with challenges of their sufficiency as a matter of law; obviously, however, this is no such a challenge on appeal of the fact-findings of a trial court as lacking support in the evidence as the rules require; no propositions — followed by statements from the record pointing out the testimony upon the points raised, nor wherein it was insufficient — were made at all.
The motion has been carefully considered, but under the conclusion that the former disposition was correct, it will be overruled.
  Refused. *Page 681 